           Case 1:20-vv-00206-UNJ Document 62 Filed 02/02/24 Page 1 of 5




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0206V



 JOHN DAVENPORT,                                             Chief Special Master Corcoran

                         Petitioner,                         Filed: December 26, 2023
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Lauren Kells, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION AWARDING DAMAGES1

        On February 26, 2020, John Davenport (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.2 (the “Vaccine Act”). Petitioner alleges that he suffered a shoulder
injury related to vaccine administration (“SIRVA”) caused by an influenza (“flu”) vaccine
administered on September 17, 2018. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On November 8, 2023, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for her SIRVA. On December 22, 2023, Respondent filed a
proffer on award of compensation (“Proffer”) indicating Petitioner should be awarded
$107,948.28, representing compensation in the amounts of $105,000.00 for pain and
suffering and $2,948.28 for past unreimbursable expenses. Proffer at 2. In the Proffer,


1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
          Case 1:20-vv-00206-UNJ Document 62 Filed 02/02/24 Page 2 of 5



Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $107,948.28, representing compensation in the amounts of
$105,000.00 for pain and suffering and $2,948.28 for actual unreimbursable
expenses in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
         Case 1:20-vv-00206-UNJ Document 62 Filed 02/02/24 Page 3 of 5




             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
JOHN DAVENPORT,                      )
                                     )
            Petitioner,              )
                                     )  No. 20-206V
      v.                             )  Chief Special Master Corcoran
                                     )  ECF
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 26, 2020, John Davenport (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that he suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza vaccine he received on September 27, 2018. Petition at 1. On October 5, 2022,

petitioner filed a Motion for a Ruling on the Record (“Motion”) arguing that he has established

entitlement to compensation for a SIRVA. ECF No. 49. Respondent filed his Response to

Petitioner’s Motion on November 10, 2022, recommending that entitlement to compensation be

denied. ECF No. 33. Petitioner filed a Reply on November 17, 2022. ECF No. 52. On

November 8, 2023, the Court issued a Ruling on Entitlement, finding that petitioner is entitled to

compensation. 1 ECF No. 53.


1
 Respondent has no objection to the amount of the proffered award of damages set forth herein.
Assuming the Chief Special Master issues a damages decision in conformity with this proffer,
respondent waives his right to seek review of such damages decision. However, respondent
reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Chief Special
Master’s November 8, 2023, entitlement decision.
            Case 1:20-vv-00206-UNJ Document 62 Filed 02/02/24 Page 4 of 5




I.     Items of Compensation

       A.       Pain and Suffering

       Respondent proffers that petitioner should be awarded $105,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that he incurred past unreimbursable expenses

related to his vaccine-related injury. Respondent proffers that petitioner should be awarded past

unreimbursable expenses in the amount of $2,948.28.00. See 42 U.S.C. § 300aa-15(a)(1)(B).

Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following2: a lump sum payment of $107,948.28, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, John Davenport:                       $107,948.28.

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General


2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
       Case 1:20-vv-00206-UNJ Document 62 Filed 02/02/24 Page 5 of 5




                                  C. SALVATORE D’ALESSIO
                                  Director
                                  Torts Branch, Civil Division

                                  HEATHER L. PEARLMAN
                                  Deputy Director
                                  Torts Branch, Civil Division

                                  LARA A. ENGLUND
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  /s/ Lauren Kells
                                  LAUREN KELLS
                                  Trial Attorney
                                  Torts Branch, Civil Division
                                  U.S. Department of Justice
                                  P.O. Box 146
                                  Benjamin Franklin Station
                                  Washington, D.C. 20044-0146
                                  Telephone: (202) 616-4187
                                  Email: Lauren.Kells@usdoj.gov

DATED: December 22, 2023




                                     3
